Case 2:19-cv-02374-KJM-EFB Document 15 _Filed 05/28/20 Page 1 of 11
. UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

GARRISON JONES
Plaintiff,
Vv

VELOCITY TECHNOLOGY SOLUTIONS, et al
SHAUNA COLEMAN, individually

and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
as General Counsel of Velocity Technology
Solutions; STEVEN KLOEBLEN,
Individually and as CEO of Velocity
Technology Solutions; MICHAEL
BALDWIN, individually and as an employee
of Velocity Technology Solutions.
Defendants.

Case No. 2:19-cv-02374-KJM-EFB

Date: June 3, 2020

Time: 10:00 a.m.

Place: 8

Complaint Filed: November 25, 2019

Trial Date: None Set

Judge: Hon. Edmund F. Brennan

FILED

MAY 28 2020

 

CLERK, U.S. DleTAIOT GOUAT
GABTEAN DIBTRICT. OF QALIFOVHIA

RY eeeeeests
BEFUT re ir

|
|

PLAINTIFF RESPONSE TO LODING DOCUMENT BY DEFENDANT

IL INTRODUCTION

U.

Perhaps defendant counsel needs to be able to correctly interpretation of Rule 4
Summons. Plaintiff filed with the court after the third time of sending defendants with
Notice of Lawsuit and Request to Waive Summons on December 11, 2019.

0
2:19-cv.02374-KJM: D iled.
Per Rule 4 (ay Restlts of Filing a Waiver fen the plain iff files AWaiver, proof of
service is not required and these rules apply as if a summons and complaint had been
served at the time of filing the waiver.

 

 

Defendants were served on December 11, 2019 per this rule

Plaintiff does not and is not required to show cause as the defendants who won’t admit
it received all of the waiver documents sent on December 2, 5, and 11 2019.

Perhaps counsel can explain how defendants found out about complaint and explain all
of the access records of this complaint other than the plaintiffs’ who accessed and
downloaded documents.

Therefore, counsels continued objections to service is again a waste of court resources
in order to make him understand that as of December 11, 2019 the defendants have
been served per the statue. As such,

 

 

 

Per Rule 4(F) The defendant a reasonable time of at least 30 days after the request
was sent—or at least 60 days if sent to the defendant outside any judicial district of the
United States—to return the waiver. Defendant is not a foreign corporation but a
Delaware corporation, headquartered in Charlotte, North Carolina. Defendants on their
own accord received each and every document on three separate occasions and was
their choice not to respond to either.

Defendant counsel claims that that plaintiff response from May 22, 2020 that
notification was not received until May 26, 2020. It should be noted that the plaintiff
does not control notification of filings with the court and as such is being used by
counsel as a means to claim “ they did not have enough time to catch the bus”

Simply another excuse. You can assure that they billed their client for any extra
time they spent responding. Simply another excuse.

 

Defendants have never presented or offered any reasons or cause that they intentionally
did not respond to the waiver. It is and has been racially motivated as they have said
on multiple occasions; We will not bow down to a nigger”.
sue . Cae 2:19-cv-02374-KJM-EFB Document15 Filed 05/28/20 Page 3 of 11
Plaintiff Timely response.

FRCP rules give a litigant 21 days to reply to a motion. Defendant motion was filed on
May4, 2020. Plaintiff response to said motion was filed with the court on May 22,
2020 for a total of 18 days well within the rules of set forth. Upon filing on May 22,
plaintiff upon reviewing the filing noticed that there were blank pages in the motion;
this was caused by running out of black in on the printer. This issue was corrected and
an amended Motion was printed and filed with the court on Tuesday May 26, 2020
Perhaps a calculator is needed for the computation of dates.

Plaintiff recommends that if counsel has issues with the filing and notifications, he
should promptly contact the clerk of court, nevertheless it is not in the control of the
plaintiff, but again, this shows how microscopic his responses are, blaming everybody
except himself and the his client.

Plaintiff also needs to respond to the statement by counsel “save him”. The plaintiff
does not need saving, it is the client on judgement day that will stand there to meet
their maker and again offer the same excuses counsel is presenting.

Plaintiff has for over 3 years seen and been the subject of the defendants’ wrath and
still they have failed as such they will fail in this case. The past events are simply
being duplicated before the court. Again, this is the first time, defendants and counsel
have not went behind the plaintiffs’ back and submitted false documents without his
knowledge. Even in those events, he showed that the false claims were exactly what
they are FALSE.

If counsel thinks that they have not been engaged to “Save them” from this known
culture at Velocity, he is mistaken. Said complaint and supporting documents drip
with racial motivation on the part of defendants. The lawsuit before the court is an
extension of their hate and racism, one where they will spend hundreds of thousands of
dollars in attempting to get them out of the inevitable

Defendants are not despite what they think excluded or exempt from this rule

(1) Requesting a Waiver. An individual, corporation, or association that is subject to service
under Rule 4(e), (f), or (h) has a duty to avoid unnecessary expenses of serving the summons.

2
. spp Case 2:19-cv-02374-KJM-EFB,, Document 15 Filed 05/28/20 Pa
The plaintiff may notify Such a defendant that an action has been commenced

defendant waive service of a summons.

e4of11
and request that the

Plaintiff gave defendants more than 60 days and still not response
They are not exempt from this rule either

(F) give the defendant a reasonable time of at least 30 days after the request was
sent—or at least 60 days if sent to the defendant outside any judicial district of the
United States—to return the waiver; and

(G) be sent by first-class mail or other reliable means.

Plaintiff gave defendants more than the required 60 days and they still did not
respond.

Defendants are not despite what they think excluded or exempt from this rule

(2) Failure to Waive. \f a defendant located within the United States fails,
without good cause, to sign and return a waiver requested by a plaintiff located
within the United States, the court must impose on the defendant:

(A) the expenses later incurred in making service; and

(B) the reasonable expenses, including attorney's fees, of any motion required to
collect those service expenses.

(3) Time to Answer After a Waiver. A defendant who, before being served with
process, timely returns a waiver need not serve an answer to the complaint until 60
days after the request was sent—or until 90 days after it was sent to the defendant
outside any judicial district of the United States.

(5) Jurisdiction and Venue Not Waived. Waiving service of a summons does not
waive any objection to personal jurisdiction or to venue.

None of Rule 4 € is applicable to the defendant

(c) SERVING AN INDIVIDUAL WITHIN A JUDICIAL DISTRICT OF THE UNITED STATES.
Unless federal law provides otherwise, an individual—other than a minor, an

3
. Case 2:19-cv-02374-KJM-EFB Document sh eek ao rage 5 of 11,.
incompetent person, or a person whose waiver has been filed—may be served in a
Pp

judicial district of the United States by:

(1) following state law for serving a summons in an action brought in courts of
general jurisdiction in the state where the district court is located or where service is
made; or

(2) doing any of the following:

(A) delivering a copy of the summons and of the complaint to the individual
personally;

(B) leaving a copy of each at the individual's dwelling or usual place of abode
with someone of suitable age and discretion who resides there; or

(C) delivering a copy of each to an agent authorized by appointment or by
law to receive service of process. — done by the plaintiff.

(f) SERVING AN INDIVIDUAL IN A FOREIGN COUNTRY. Unless federal law provides
otherwise, an individual—other than a minor, an incompetent person, or a person
whose waiver has been filed—may be served at a place not within any judicial district
of the United States:

(1) by any internationally agreed means of service that is reasonably calculated to
give notice, such as those authorized by the Hague Convention on the Service
Abroad of Judicial and Extrajudicial Documents;

h) SERVING A CORPORATION, PARTNERSHIP, OR ASSOCIATION. Unless federal law
provides otherwise or the defendant's waiver has been filed, a domestic or foreign
corporation, or a partnership or other unincorporated association that is subject to suit
under a common name, must be served:

(1) in a judicial district of the United States:
(A) In the manner prescribed by Rule 4(e) (1) for serving an individual; or

(B) by delivering a copy of the summons and of the complaint to an officer, a
managing or general agent, or any other agent authorized by appointment or by law
to receive service of process and—if the agent is one authorized by statute and the
statute so requires—by also mailing a copy of each to the defendant; or

(2) at a place not within any judicial district of the United States, in any manner
prescribed by Rule 4(f) for serving an individual, except personal delivery

under (f)(2)(C)().
4
Case 2:19-cv-02374-KJM-EFB .Documenj 15 Filed 05/28/20 Pa of11...
Defendants are not despite what they think excluded or exempt fron this rule

(i) SERVING THE UNITED STATES AND ITS AGENCIES, CORPORATIONS, OFFICERS, OR
EMPLOYEES.

(1) United States. To serve the United States, a party must:

(A) (i) deliver a copy of the summons and of the complaint to the United States
attorney for the district where the action is brought—or to an assistant United
States attorney or clerical employee whom the United States attorney designates in
a writing filed with the court clerk—or

(C) if the action challenges an order of a nonparty agency or officer of the United
States, send a copy of each by registered or certified mail to the agency or officer.

Defendants are not despite what they think excluded or exempt from this rule

(2) Agency; Corporation; Officer or Employee Sued in an Official Capacity. To
serve a United States agency or corporation, or a United States officer or employee
sued only in an official capacity, a party must serve the United States and send a
copy of the summons and of the complaint by registered or certified mail to the
agency, corporation, officer, or employee.

(3) Officer or Employee Sued Individually. To serve a United States officer or
employee sued in an individual capacity for an act or omission occurring in
connection with duties performed on the United States’ behalf (whether or not the
officer or employee is also sued in an official capacity), a party must serve the United
States and also serve the officer or employee under Rule 4(e), (£), or (g).

This rule applies to the defendant whether they want to admit it or not

(k) TERRITORIAL LIMITS OF EFFECTIVE SERVICE.

(1) In General. Serving a summons or filing a waiver of service establishes
personal jurisdiction over a defendant:

(A) who is subject to the jurisdiction of a court of general jurisdiction in the state
where the district court is located;
Case 2:19-cv-02374-KJM-EFB, Document 15 Filed 05/28/20 Page 7 of 11
(C) when authorized by a federal statute. 9

(2) Federal Claim Outside State-Court Jurisdiction. For a claim that arises under
federal law, serving a summons or filing a waiver of service establishes personal
jurisdiction over a defendant if:

(A) the defendant is not subject to jurisdiction in any state's courts of general
jurisdiction; and

(B) Exercising jurisdiction is consistent with the United States Constitution and
laws.

, or by other evidence satisfying the court that the summons and complaint were
delivered to the addressee.

(3) Validity of Service; Amending Proof. Failure to prove service does not affect
the validity of service. The court may permit proof of service to be amended.

Attached receipts from USPS Certified mail addressed to defendant Steve Kloeblen, CEO
of Velocity, and delivery confirmation

(m) Time LIMIT FOR SERVICE. If a defendant is not served within 90 days after the complaint is
filed, the court—on motion or on its own after notice to the plaintiff—must dismiss the
action without prejudice against that defendant or order that service be made within a
specified time. But if the plaintiff shows good cause for the failure, the court must extend
the time for service for an appropriate period. This subdivision (m) does not apply to
service in a foreign country under Rule 4(f), 4(h)(2), or 4(j)(1), or to service of a notice

under Rule 71.1(d)(3)(A).

 

Defendants were served on December 11, 2019 well before the 90 days set forth in
the statue.
Case 2:19-cv-02374-KJM-EFB Document15 Filed 05/28/20 Page 8 of 11

ORIGINAL

 

 

ai? 330 lew LAG Nomce ote Lewiad, wed Bengt ae Wake Gene cfs Sarees Fl L Ee D
ea
UNITED STATES DISTRICT CourT  "t* 11: 88
for the cas eS dr Gc aLPORNA
“ Poem

Civil Action Ka t . | ~ Cu 237Y

Tene ae ae ne ate

Lf éfouty Lichen

NOTICE OF 4 LAWSUIT AND REQUEST TO WAIVE SERVICE OF 8 SUMMONS

Te

‘ame ov he dfredint 2 ay. Y the dedomdare bor viepeher rpm, Siren cas se fies we aye ancien: an evane conan!

Whs are vou getting tha?

A biawurt has beea fled agains: vou. or the entay you represent, in this court under the camber shown shove
A cupy of the ooonplaint & amached

Ths gots sammons, oan offic notes fromthe cour. ft isa request thay to avoul expecees, you wane formal
service of a sume by sigerng anf roturniag the en nat waiver. To avokd these eqpeties, yuu mat retern the sign)
wayeer wih Chyy ceree ao deat UW) dag or ad leak 00 dove YoAe defer sy valsale day Aadicidi fiers ay the Decad Meader
from thy dais shown Sesoe which ib ihe dale this notce eae tem Two copes of the waiver ford are enc dosed, aloag wih
& Mamped, set addressed exve oce o¢ olber prepaid casam foe neturning one copy You may keep ihe ober copy

What happens next?

{yoo return the signed warver, |] will fie a with the coun. The ocuion will neo proceed as of you had beer. served
an the date the waiver 1 filed, but 2 sume fall be screed an $0 Ged you wil have 60 days fom the dam this nore
is aot (see the cate below) to answer the complaint Cor 90 days if thes notice is sent to Nou aulsie any jue x il district of
tae United Scacesp

Hf ynu do not rer the signed waswer whom the tome indicated, [ wall acrarge jo have the sammans set couple
served ca you Ved 1 well asic the court to require you. cc the emify you represent, in pay the cipesses of muking service.

Phase ccad Che cachind statement shout the duty to avs) unnecessary expenses
Derrify that this reaques: a beng sent is sou on the date be arn,

Date 4 Laspes 4 fhtz a

Supsaatare of the axo-mey ar wn Grueveteets

ts AP Raber 6 LA RS

Fae Me

mead

Adtalress

te iwtles ROCA

  

Tater mame
ge9of11

 

U.S. Postal Service”
CERTIFIED MAIL” RECEIPT

Domestic Mait Oniy

Pee ro tN ani ot es ree eee ad ee ae

 

 

 

 

11/277 2019 i

= a a

 

 

 

 

Street 3
ee

ook ew ace ec ee oe. hae

 

 

Tracking Number: 701907000001 61765213 Remove «

Your item was delivered to an individual at the address at 11:25 am on December 2, 2019 in
CHARLOTTE, NC 28211.

Y Delivered

December 2, 2019 at 11:25 am
Delivered, Left with Individual
CHARLOTTE, NC 28211
Case 2:19-cv-02374-KJM-EFB Document 15 Filed 05/28/20 Page 10 of 11

It appears that as indicated that counsel is so eager to maybe get a bonus of funds from
their client that he is stumbling over his own feet. The statement that the plaintiff is in
need of “saving” is typical of the arrogance of both the defendants and their attorneys.

Perhaps counsel can explain why within a 90 day period they and their client submitted
documented fraudulent documents and how they impersonated the plaintiff to mesh the
forged documents to make it appear that he was unable to work, when they had
documentation they requested from his physician, that showed he was able to work
over a month before their release of his confidential medical records to AZDES. In
addition perhaps he can explain after doing so, why they intentionally failed to appear
at a total of five (5) appeal hearings.

Perhaps counsel can explain, knowing how easy it is to accuse a black man of a crime,
in order induce others to make that decision from the fraudulent documents they
submitted to the court, hoping that he will become a victim of the criminal justice
system.

More than Rule 11 sanctions are justified, and some solely based on the evidence and
to the inability of counsel who will not respond to a single documented proof of the
events outlined. Sanctions are mandatory and just.

After hiding behind or under a rock after they have done their dirt for over 5 months
the best they can do is the same as they have done before, lied, and make false
allegations. It is perplexing that they are confused as the shark surfacing from the deep
waters when he thinks he “smells blood’, however the confusion is that it is not the
blood of the prey, it is their own

AFFIDAVIT

Garrison Jones, Plaintiff, do hereby certify Respectfully submitted,
that the statements and allegations set forth Atlin Sra, :

in the motion to be filed true and accurate G ARRISON (JONES, PLAINTIFF
to the best of our knowledge and belief. v

 

P.O. Box 188911
May 27,2020
Case 2:19-cv-02374-KJM-EFB Document 15 Filed 05/28/ Page 11 of 11
Sacramento, California 95818

Garrison.jones@outlook.com

 

 

10
